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                                                                                          11/13/2018


                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    Charlottesville Division

  ELIZABETH SINES et al.,                       )
       Plaintiffs,                              )       Civil Action No. 3:17-cv-00072
                                                )
  v.                                            )       ORDER
                                                )
  JASON KESSLER et al.,                         )       By:     Joel C. Hoppe
       Defendants.                              )               United States Magistrate Judge

         This matter is before the Court on Plaintiffs’ Motion to Compel Defendants to Permit

  Inspection and Imaging of Electronic Devices, ECF No. 354, and other discovery matters. On

  November 9, 2018, the Court held a telephonic hearing at which the parties appeared by counsel

  and had an opportunity to address these matters. ECF No. 377. The parties largely resolved their

  differences over Plaintiffs’ motion, as well as Plaintiffs’ request that certain Defendants sign a

  consent form allowing Discord to respond to Plaintiffs’ subpoena duces tecum. For the reasons

  stated on the record during the hearing, it is hereby ORDERED that:

         1. Plaintiffs’ motion to compel, ECF No. 354, is GRANTED. The Court finds that

             ordering the parties to submit their electronic devices to a third-party vendor for

             imaging, see ECF No. 354-1, is necessary and appropriate to manage discovery in this

             action. See Procaps S.A. v. Patheon Inc., No. 12-24356-CIV, 2014 WL 800468, at

             *2–3 (S.D. Fla. Feb. 28, 2014).

         2. The parties agreed that certain modifications should be made to the proposed

             Stipulation and Order for the Imaging, Preservation, and Production of Documents

             attached to Plaintiffs’ motion. ECF No. 354-1. The parties shall promptly submit a

             new proposed Stipulation and Order that reflects the substance of these agreed-upon

             terms:



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               a. Plaintiffs agree to pay all fees or costs incurred by the third-party vendor in

                   imaging the identified electronic devices. This agreement is made without

                   prejudice to Plaintiffs’ ability to seek to recover these expenses at a later date.

                   Defendants are not obligated to pay any fees or costs incurred by the third-

                   party vendor at this time, and they reserve their rights to oppose any request

                   made by Plaintiffs seeking to recover those expenses.

               b. The Stipulation and Order’s terms are reciprocal – they apply equally to

                   Plaintiffs and to Defendants.

               c. Defendants preserve any properly made objections to Plaintiffs’ requests for

                   production.

        3. Within seven (7) days from the date of this Order, all Defendants who appeared at the

           hearing, except Defendant Richard Spencer, shall sign the consent form allowing

           Discord to produce any discoverable documents or electronically stored information

           in response to Plaintiffs’ subpoena duces tecum.

               a. Within seven (7) days from the date of this Order, Spencer’s counsel shall

                   notify the Court whether or not he objects to the Court entering an Order

                   directing Spencer to sign the Discord consent form.

        4. The Court previously allowed counsel to withdraw from representing Defendant

           Elliot Kline. ECF No. 347. Kline’s former counsel shall provide to the Court and

           Plaintiffs’ counsel Kline’s contact information, including any address, telephone

           number, and email address that counsel may possess.

        It is so ORDERED.

                                                       ENTER: November 13, 2018



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                                           Joel C. Hoppe
                                           U.S. Magistrate Judge




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